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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
SIERRA CLUB,                              )
                                          )
      Plaintiff,                          )
                                          )
             v.                           )                  Case No. 19-cv-03018 (APM)
                                          )
UNITED STATES ENVIRONMENTAL               )
PROTECTION AGENCY,                        )
                                          )
      Defendant.                          )
_________________________________________ )

                         MEMORANDUM OPINION AND ORDER

                                                 I.

       In April 2019, Plaintiff Sierra Club submitted a Freedom of Information Act (“FOIA”)

request to Defendant U.S. Environmental Protection Agency (“EPA”) seeking records concerning

a public statement made by then EPA Administrator Andrew Wheeler that the effects of climate

change remained decades away. EPA staff refused to produce any records and, after Plaintiff’s

subsequent administrative appeal remained unanswered beyond the statutory response period,

Sierra Club filed this lawsuit. Post-filing, EPA complied with Sierra Club’s request in full. Sierra

Club now asserts that it is both eligible and entitled to attorney’s fees under FOIA. See Pl.’s Mot.

for Atty’s Fees & Costs, & Mem. of P & A in Supp. Thereof, ECF No. 23 [hereinafter Pl.’s Mot.].

The court agrees. For the reasons set forth below, Sierra Club’s motion is granted.

                                                II.

       Under FOIA, a court “may” award attorney’s fees to a requester in a case in which a

requester has “substantially prevailed.” 5 U.S.C. § 552(a)(4)(E)(i). Whether to grant a fees award

involves a two-part inquiry into the requester’s eligibility and entitlement to such an award.
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See Church of Scientology of Cal. v. Harris, 653 F.2d 584, 587 (D.C Cir. 1981). A requester is

deemed “eligible” for a fee award if it has “substantially prevailed.” 5 U.S.C. § 522(a)(4)(E)(i).

A requester “substantially prevails” if it has “obtained relief” through either (1) a “judicial order,

or an enforceable written agreement or consent decree,” or (2) “a voluntary or unilateral change in

position by the agency, if the [requester’s] claim is not insubstantial.” Id. § 522(a)(4)(E)(ii). Only

the second of these criteria—known as the “catalyst theory”—is applicable here. See Grand

Canyon Tr. v. Bernhardt, 947 F.3d 94, 95 (D.C. Cir. 2020). Under that theory, the relevant

question is whether “the institution and prosecution of the litigation caused the agency to release

the documents obtained.” Id. at 97 (cleaned up). Establishing causation requires more than a

sequential showing of the mere filing of a complaint and the subsequent release of records. See id.

Rather, the requester bears the burden of demonstrating “that it is more probable than not that the

government would not have performed the desired act absent the lawsuit.” Id. (quoting Pub.

Citizen Health Res. Grp. v. Young, 909 F.2d 546, 550 (D.C. Cir. 1990)).

       If the requester is deemed eligible for fees, it still must establish entitlement to an award.

That inquiry requires consideration of four factors: “(1) the public benefit derived from the case;

(2) the commercial benefit to the plaintiff; (3) the nature of the plaintiff’s interest in the records;

and (4) the reasonableness of the agency’s withholding of the requested documents.” Morley v.

CIA, 810 F.3d 841, 842 (D.C. Cir. 2016) (internal quotation marks omitted). “No one factor is

dispositive,” except that “the court will not assess fees when the agency has demonstrated that it

had a lawful right to withhold disclosure.” Davy v. CIA, 550 F.3d 1155, 1159 (D.C. Cir. 2008).




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                                                 III.

       The court presumes the parties’ familiarity with the facts presented and therefore does not

formally recite them here. Instead, the court references the facts as necessary to evaluate the

parties’ arguments.

                                                 A.

       Plaintiff’s FOIA request contained two parts: (1) “All records that Administrator Wheeler

relied on in asserting that ‘most of the threats from climate change are 50 to 75 years out,’” and

(2) “All records produced, commissioned, or otherwise obtained by EPA that support the

conclusion that ‘most of the threats from climate change are 50 to 75 years out,’” other than those

encompassed by the first request. Compl., ECF No. 1, Ex. A, ECF No. 1-1, at 1. EPA challenges

Plaintiff’s eligibility for fees with respect to both parts of this request. See Def.’s Opp’n to Pl.’s

Mot., ECF No. 27 [hereinafter Def.’s Opp’n], at 6–8.

       As to part one of Plaintiff’s request, EPA argues that the requisite causation between the

lawsuit and production of records is lacking. See id. at 6–7. EPA says it “was prepared to grant,

in part, Sierra Club’s administrative appeal and produce records responsive to the first part of its

request prior to Sierra Club filing its Complaint,” and did so “soon after” the Complaint was filed.

Id. at 1. The factual assertion that EPA was prepared to produce records rests on the Declaration

of Elizabeth White, EPA’s Director of the Office of Executive Secretariat.                She states,

“I understand that [the Office of General Counsel] had prepared a draft appeal determination letter

that would have granted the appeal as to Part 1 of Sierra Club’s request and resulted in production

of the records responsive to Part 1 by my office, but denied the appeal as to Part 2.” Def.’s Opp’n,

Decl. of Elizabeth White, ECF No. 27-1 [hereinafter White Decl.], ¶ 14. “However,” White

continues, “the appeal determination letter was under review and not finalized at the time that



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Sierra Club filed suit.” Id. As for the second part of Plaintiff’s FOIA request, EPA contends that

a necessary, post-litigation clarification of part two of Plaintiff’s request enabled EPA to conduct

a reasonable search for responsive records, thereby severing the causative link between lawsuit

and production. Def.’s Opp’n at 7–8. Neither of these arguments is convincing.

        EPA’s suggestion that it would have produced records in response to part one of the FOIA

request absent the lawsuit fails for three reasons. First, that assertion is flatly contradicted by

EPA’s responsive pleading. In its Answer, EPA denied that it had improperly withheld records

and asserted as affirmative defenses that “[t]he Complaint fails in whole or in part to state a claim

upon which relief can be granted,” “Plaintiff is not entitled to information protected from

disclosure by one or more exemptions to FOIA,” and “Plaintiff’s request does not reasonably

describe the records sought.” Answer, ECF No. 11, at 13. Those defenses applied to the request

in its entirety, and nowhere in its Answer did EPA indicate that it was prepared to produce records

in response to part one of the FOIA request. It was only when the parties filed their initial Joint

Status Report on January 6, 2020, that EPA indicated for the first time that it had searched for and

would be producing records responsive to that portion of the FOIA request. See Joint Status

Report, ECF No. 14, at 1. EPA cannot walk back from the litigation position it took at the start of

this case.

        Second, the White Declaration supplies weak evidence of the agency’s purported readiness

to deliver some records before Plaintiff filed suit. White says she “understand[s]” that the Office

of General Counsel had drafted an appeal determination letter but that the letter was not yet

finalized when Sierra Club filed suit. White Decl. ¶ 14. White, however, supplies no details for

this assertion. She does not, for instance, identify with whom she spoke in the Office of General

Counsel, state when she spoke to such person, or explain the lengthy, indefinite delay for the appeal



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decision, see Pl.’s Mot. at 11–13 (describing the months-long delay in receiving a decision on

appeal, which ultimately never issued). Nor does White attach a draft of the purported appeal

determination letter. And she does not explain why EPA did not produce records notwithstanding

Plaintiff’s filing suit; nothing prevented the agency from responding to only one of Plaintiff’s two

requests. The court therefore finds the record evidence that EPA intended to disclose some records

before Plaintiff filed this action to be weak.

       Third, EPA cites no case for the proposition that a newly revealed past intent to disclose

records can defeat the element of causation. A recent case from the D.C. Circuit illustrates the

weakness of EPA’s position. In Grand Canyon Trust, the D.C. Circuit held that a plaintiff had

failed to establish causation where both recipient agencies “completed their disclosures within four

months of the start of the litigation.” 947 F.3d at 97. But in that case, neither agency had given

any reason to suggest “it would fail to comply with the request” prior to the initiation of the lawsuit.

Id. “[T]o the contrary,” both had made partial releases of records and had given “the plaintiff their

predictions as to when production would be completed.” Id. Here, in stark contrast, after initially

suggesting to Plaintiff that it would search for responsive records, EPA advised that the request

was not “reasonably specific” and refused to commit to disclosure, causing Plaintiff to take an

administrative appeal. See Pl.’s Mot., Ex. A., ECF No. 23-1 [hereinafter Miller Decl.], ¶¶ 25–29.

When EPA dragged its feet in issuing a decision on appeal, Plaintiff was left with no choice but to

file suit. In such circumstances, it is “more probable than not,” Grand Canyon Tr., 947 F.3d at 97

(internal quotation marks omitted), that filing suit caused EPA to reverse the only position it ever

articulated to Plaintiff—that it would not produce records, see Church of Scientology, 653 F.2d at

588 (“If rather than the threat of an adverse court order either a lack of actual notice of a request

or an unavoidable delay accompanied by due diligence in the administrative process was the actual



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reason for the agency’s failure to respond to a request, then it cannot be said that the complaint

substantially prevailed in his suit.” (internal quotation marks omitted)).

       EPA’s argument as to the second half of Plaintiff’s request fares no better. EPA contends

that after the litigation commenced, Plaintiff “materially changed its request” by “clarif[ying] its

search methodology,” which allowed the agency to conduct a search that it could not before. Def.’s

Opp’n at 7. But that is a dubious assertion. For one, Plaintiff never modified the request itself;

rather, after commencing litigation the parties reached agreement on a search protocol to identify

responsive records. See Miller Decl. ¶¶ 42–44. What’s more, the approach the parties eventually

took was one that Plaintiff had proposed since the outset of the administrative process. See id.

¶ 19 (explaining that Plaintiff initiated discussion with the agency on this topic as early as three

days after the request was submitted). EPA never explains why during the administrative

proceedings it refused to reach an agreement on search terms, and instead stood firm that the

request was not “reasonably specific.”

       The agency’s refusal is particularly indefensible given that it had only recently created a

search methodology to respond to a very similar FOIA request.                In Public Employees for

Environmental Responsibility v. EPA (PEER), the plaintiff made a two-part request for records

concerning a statement about climate change made by the then Administrator (that human activity

was not “a primary contributor to global warming”). 314 F. Supp. 3d 68, 71 (D.D.C. 2018)

(internal quotation marks omitted). Like Plaintiff’s request, the first portion of the request in PEER

asked for documents “relied upon” by the Administrator’s statement, and the second portion asked

for any EPA records “that support[ed]” the conclusion that human activity was not the largest

factor driving global climate change. See id. EPA asserted in litigation that the second request—

which resembles the second request here—failed to “reasonably describe” the records sought, id.



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at 79–80, but the court soundly rejected that view, see id. at 80. EPA thereafter developed search

protocols to produce records in response to the second request. See Joint Status Report, PEER,

No. 17-cv-652 (BAH) (D.D.C. July 6, 2018), ECF No. 29. These events in PEER occurred less

than a year prior to EPA’s April 2019 receipt of Plaintiff’s FOIA request in this case. Yet,

Plaintiff’s months-long, repeated attempts to convince the agency that PEER provided a template

for its requests fell on deaf ears. See Miller Decl. ¶¶ 19–20, 26–29. It took Plaintiff’s suit to

change EPA’s mind. As to the second request then, Plaintiff meets the definition of “prevailing

party.”

                                                   B.

          Having determined that Plaintiff is eligible for fees, the question remains whether Plaintiff

is entitled to fees. Recall, the court must consider four factors in that evaluation: “(1) the public

benefit derived from the case; (2) the commercial benefit to the plaintiff; (3) the nature of the

plaintiff’s interest in the records; and (4) the reasonableness of the agency’s withholding of the

requested documents.” Morley, 810 F.3d at 842 (internal quotation marks omitted). EPA here

focuses primarily on the fourth of these factors. It contends that its “positions throughout the

response to the request were reasonable.” Def.’s Opp’n at 10. The court cannot agree.

          As a threshold matter, mere reasonableness of an agency’s position does not foreclose the

award of fees. Only if “the Government’s position is correct as a matter of law” will that be

“dispositive” on the question of fees. Davy, 550 F.3d at 1162 (internal quotation marks omitted).

If, on the other hand, “the Government’s position is founded on a colorable basis in law, that will

be weighed along with other relevant considerations in the entitlement calculus.” Id. (internal

quotation marks omitted). Here, EPA does not contend that it is “correct as a matter of law,” only

that its actions were “reasonable.” Def.’s Opp’n at 9–10.



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        But the government’s refusal to produce any records before Plaintiff filed suit was not

reasonable. EPA is silent as to the first part of Plaintiff’s request. It offers no defense for its

refusal to produce records. See id. at 9–13. As to the second portion of the request, EPA stands

by its position that Plaintiff failed to “reasonably describe” the records sought and that the second

portion created an undue burden. See id. (internal quotation marks omitted). But PEER largely

puts these arguments to rest. To be sure, PEER was not binding on the agency, and there are some

differences between the cases. However, those differences are not substantial, and the record

reflects the agency’s seeming refusal to even consider the case as a helpful guidepost in working

through concerns about Plaintiff’s second request. See Miller Decl. ¶¶ 26–27 (describing how, on

June 20, 2019, after being told by a senior attorney that the agency would consider PEER, Plaintiff

received notice two hours later—before sending PEER-related materials to the senior attorney—

that the agency had finalized its position not to produce records). The agency’s unwillingness to

engage on PEER was itself unreasonable. Indeed, it is telling that immediately after filing suit,

and with the benefit of counsel from the U.S. Attorney’s Office, EPA agreed to run searches that

it had long resisted. See id. ¶ 42. This is not the kind of agency response to a legitimate FOIA

request that Congress had in mind, and it is precisely the type of response that Congress thought

warranted an award of attorney’s fees. See Nationwide Bldg. Maint., Inc. v. Sampson, 559 F.2d

704, 712 (D.C. Cir. 1977) (summarizing Congress’s intent with respect to the fourth criterion as

to “ordinarily award [fees] if the withholding appeared to be merely to avoid embarrassment or to

frustrate the requester”).

        The court must weigh EPA’s obstinance alongside the remaining factors. All of those

factors support an award of fees. EPA claims that the public benefit was minimal “because the

records produced were largely in the public domain,” Def.’s Opp’n at 14, but that argument fails



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twice over. First, EPA does not identify which records were in the public domain. Second, EPA

misses the point: the public plainly derived a benefit because it learned that the Administrator

relied on no records in making the statement that “most of the threats from climate change are 50

to 75 years out.” See Pl.’s Mot. at 26–27 (internal quotation marks omitted) (stating that Plaintiff

publicized what it learned “through multiple media channels”). Additionally, Plaintiff derived no

commercial benefit from the disclosure, and it had no other private incentive to obtain the records.

See Kwoka v. IRS, 989 F.3d 1058, slip op. at 7 (D.C. Cir. 2021) (considering the second and third

factors together and assessing “whether a plaintiff has sufficient private incentive to seek

disclosure without attorney’s fees” (quoting Davy, 550 F.3d at 1160)). 1 Thus, even if the

government’s position had some degree of reasonableness, given the strength of the other three

factors in favor of a fee award, Plaintiff would prevail. In sum, the four factors the court is required

to consider all weigh in favor of an award of attorney’s fees.

                                                          C.

         Finally, EPA argues that the amount of fees sought is unreasonable and should be reduced.

The court largely declines the agency’s request.

         First, EPA urges the court to cut the fees request in half because Plaintiff “initially refused

to work with EPA to resolve Part 2” of its request during the administrative process. Def.’s Opp’n

at 15. The record reveals otherwise. It was EPA that refused to meaningfully engage with Plaintiff.

True, EPA representatives communicated with and met with Plaintiff to discuss its request, but

negotiations moved backward once senior agency attorneys become involved. See Pl.’s Mot.

at 7–9. After EPA communicated that a search responsive to Plaintiff’s request was “already under



1
 EPA also contends that Plaintiff’s “non-profit status does not automatically demonstrate that it prevails on the second
and third factors,” Def.’s Opp’n at 14, but the court need not reach that contention because Plaintiff makes no such
argument.

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way,” id. at 7, a senior agency attorney backtracked, calling the request not “reasonably specific”

and informing Plaintiff that EPA would not respond to it, id. at 8. Indeed, the record reveals no

serious effort by EPA to accommodate Plaintiff’s request. EPA’s foot-dragging during the

administrative appeal, see id. at 11–13, only underscores the agency’s lack of diligence.

       Second, EPA argues that the fees should be reduced for work relevant to part one of the

request “as EPA was prepared to release documents responsive to Part 1 of Sierra Club’s request

before the initiation of litigation.” Def.’s Opp’n at 15. But for reasons already discussed, the court

rejects EPA’s contention that the litigation did not cause the agency to produce records in response

to part one of Plaintiff’s request. See supra pp. 3–6.

       Third, in a single sentence, EPA contends that fees should be reduced “by 50% for any

activity before January 17, 2020, which is when the parties focused on reaching agreement on the

search methodology for Part 2 of Sierra Club’s request.” Def.’s Opp’n at 16. But the court sees

no reason why Plaintiff should be punished for EPA’s tardiness in coming to an agreement that

was available to it well before the litigation began—that is, EPA’s acquiescence to similar search

terms as those used in PEER. See supra pp. 6–7.

       Finally, EPA maintains that fees should be reduced for various discrete tasks, including

drafting the Complaint and “related administrative tasks,” “vague descriptions of how time was

spent and [] fees for pro hac vice-related work,” and “duplicative charges, as there were two

attorneys working on certain matters.” Def.’s Opp’n at 16. None of these arguments is availing.

The court has reviewed the billing submissions of counsel and finds these timekeeping logs to be

sufficiently descriptive and, with one exception, to reflect reasonable hours expended on this

matter. See Role Models Am., Inc. v. Brownlee, 353 F.3d 962, 970 (D.C. Cir. 2004) (stating that

the “supporting documentation must be of sufficient detail and probative value to enable the court



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to determine with a high degree of certainty that such hours were actually and reasonably

expended” (cleaned up)).

       With respect to the Complaint, it is true that it is more detailed than the usual FOIA

pleading, but counsel appears to have expended only approximately 10 hours in drafting and filing

it, see Pl.’s Mot., Ex. D, ECF No. 23-4 [hereinafter Ex. D], at 3 (entries for Matthew Miller on

10/1/19 (“draft and revise complaint” – 6.5 hours, and various administrative Complaint-related

matters – 2.8 hours); id. at 4 (single entry for Joseph Halso “[r]eview and edit draft of complaint”

– .75 hours). EPA itself concedes that courts “routinely allow eight to twelve hours for a

complaint.” Def.’s Mot. at 16. EPA also does not specify which “vague descriptions” of time it

protests. See id. And, although it objects to “duplicative charges,” it does not point to any

duplicative time entries. See id. EPA notes that two lawyers worked on the case, but there is no

per se rule that only a single lawyer can work on FOIA litigation. In any event, the work of the

second lawyer during the merits phase of the case involved slightly more than five hours, and

Plaintiff’s lead counsel represents that the work of the second chair reduced his workload and was

billed at a lower rate. See Ex. D at 4; Pl.’s Reply Br. in Supp. of Pl.’s Mot., ECF No. 29, at 25.

       The court will, however, reduce the number of hours spent on pro hac vice matters. Those

hours are not compensable. See Role Models Am., 353 F.3d at 973 (rejecting compensation for

time spent on an application to the D.C. Bar). Thus, the court will reduce attorney Miller’s time

by 1.4 hours and attorney Halso’s time by 1.75 hours. See Ex. D at 3 (Miller’s time entries on

12/1/19 and 12/16/19 – 1.4 hours); id. at 4 (Halso time entry on 12/1/19 – 1 hour, Halso time entry

on 1/16/20 – .75 hours).




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